                                   UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF TENNESSEE
                                         NASHVILLE DIVISION

BOAZ PLEASANT-BEY,




                                                       No
                                                       Na
         Plaintiff,




                                                       Na
                                                       Na
Vv.                                                              Civil Action Number 3:19-CV-486




                                                       Na
                                                                 District Judge Aleta A. Trauger




                                                       Na
STATE OF TENNESSEE,                                              Jury Demand




                                                       No
TENNESSEE DEPARTMENT




                                                       Na
OF CORRECTIONS, REVEREND


                                                       Na
BRIAN DARNELL, TONY

                                                       Na
PARKER, CORECIVIC, INC.,
                                                       No
JON SHONEBARGER, TOM SIMIC,                            No

and RUSSELL WASHBURN,
                                                       No
                                                       No




         Defendants.
                                                       Nor




                     DEFENDANT CORECIVIC, INC.’S RESPONSES TO
                PLAINTIFFS SECOND SET OF REQUESTS FOR PRODUCTION


         Pursuant     to Federal    Rules   of Civil Procedure        26 and   34, Defendant   CoreCivic,    Inc.

(“CoreCivic”) responds to the Second Set of Requests for Production propounded by Plaintiff Boaz

Pleasant-Bey (“Pleasant-Bey”).

         13.      Copy of any contract between Trousdale County and CoreCivic for Trousdale

Turner Correctional Facility.

         RESPONSE:         CoreCivic will produce documents that are responsive to this Request for

Production.

         14.     Documents         about    staffing     shortages,   misrepresentation   of   staffing   levels,

inaccuracy in staffing reporting sent or received by a Warden at Trousdale.

         RESPONSE: CoreCivic objects to this Request for Production on grounds that it is vague

and ambiguous as to scope because CoreCivic does not understand what Pleasant-Bey intends by


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the phrase “misrepresentation of staffing levels” or the phrase “inaccuracy in staffing reporting.”

 CoreCivic also objects to this Request for Production on grounds that it is overbroad, unduly

burdensome, and seeks documents that are not relevant and are not proportional to the needs of

the case. This Request for Production is not limited in time and particularly is not limited to the

dates of Pleasant-Bey’s incarceration at the Trousdale Turner Correctional Center (“Trousdale”).

Along with this, this Request for Production would require CoreCivic to locate and review every

communication, dn,           or email received by any warden or assistant warden at Trousdale since

the facility opened in 2016 to determine if there is any mention of staffing issues, levels, or

shortages.   This immensely time consuming and expensive task would not be taken for any

reasonable purpose. Indeed, the fact that a unit manager may have emailed an assistant warden to

report that a correctional officer did not present for his shift, that there was a staffing shortage as

a result, and that another correctional officer would have to report to the facility to cover the

staffing shortage does not have any conceivable or reasonable bearing on the allegations in this

lawsuit. Similarly, the fact that a warden may have requested that a sergeant cover a post so as not

to create a staffing shortage because a correctional officer had to leave because she was feeling ill

does not have any conceivable or reasonable bearing on the allegations in this lawsuit. Despite its

best efforts, CoreCivic has been unable to determine a way to provide any of the documents that

have been requested without causing an extreme and unreasonable burden both in terms of time

and expense for CoreCivic.    This difficulty has been exacerbated by Pleasant-Bey’s request that

CoreCivic provide these documents within a one-month timeframe. CoreCivic also objects to this

Request for Production to the extent that it seeks documents that are protected from discovery by

the attorney-client privilege, work product doctrine, and/or Federal Rule of Civil Procedure 26(b).

Subject to and without waiving these objections, counsel for CoreCivic remain willing to meet and




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confer with counsel for Pleasant-Bey to determine an appropriate scope of responsive, relevant,

and non-privileged documents to produce in response to this Request for Production that will not

cause an extreme burden and expense to CoreCivic and that will not take weeks or even months to

locate, review, and produce.

        15.     Documents about inmate violence, sent or received by a Warden at Trousdale.

        RESPONSE: CoreCivic objects to this Request for Production on grounds that it is vague

and ambiguous as to scope because the phrase “inmate violence” is not defined.          CoreCivic also

objects to this Request for Production on grounds that it is overbroad, unduly burdensome, and

seeks documents that are not relevant and are not proportional to the needs of the case.           This

Request for Production is not limited in time and particularly is not limited to the dates of Pleasant-

Bey’s incarceration at Trousdale.      Along with this, this Request for Production would require

CoreCivic to locate and review every communication, document, or email received by any warden

or assistant warden at Trousdale since the facility opened in 2016 to determine if there is any

mention of inmate violence.      This immensely time consuming and expensive task would not be

taken for any reasonable purpose. Indeed, the fact that a correctional officer may have reported to

an assistant warden that he was trying to remove hand restraints from an inmate when the inmate

jerked the restraints out of her hands does not have any conceivable or reasonable bearing on the

allegations in this lawsuit.   Similarly, the fact that a sergeant may have reported to a warden that

an inmate tried to throw urine on her does not have any conceivable or reasonable bearing on the

allegations in this lawsuit. Despite its best efforts, CoreCivic has been unable to determine a way

to provide any of the documents that have been requested without causing an extreme and

unreasonable burden both in terms of time and expense for CoreCivic.          This difficulty has been

exacerbated by Pleasant-Bey’s request that CoreCivic provide these documents within a one-




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month timeframe.     CoreCivic also objects to this Request for Production to the extent that it seeks

documents that are protected from discovery by the attorney-client privilege, work product

doctrine, and/or Federal Rule of Civil Procedure 26(b).       Subject to and without waiving these

objections, counsel for CoreCivic remain willing to meet and confer with counsel for Pleasant-

Bey to determine an appropriate scope of responsive, relevant, and non-privileged documents to

produce in response to this Request for Production that will not cause an extreme burden and

expense to CoreCivic and that will not take weeks or even months to locate, review, and produce.

        16.    All civil judgments     in state or federal court against the company       from cases

involving staffing or violence in CoreCivic’s facilities from January 1,2015 to December 31, 2020.

        RESPONSE: CoreCivic objects to this Request for Production on grounds that it is vague

and ambiguous to scope because the phrase “civil judgments” is not defined.            CoreCivic also

objects to this Request for Production on grounds that it is overbroad and seeks documents that are

not relevant and are not proportional to the needs of the case because it is not limited to Trousdale,

which is the facility that is at issue in this litigation.   Subject to and without waiving these

objections, no civil judgments have been entered in any state or federal courts regarding Trousdale

involving understaffing or violence.

        17.    All reports (whether generated by CoreCivic or a government entity) that reference

or identify staffing shortages or misrepresentation of staffing levels at any CoreCivic facility that

were sent or received by the named individual defendants on or between January 1, 2015 to

December 31, 2020.

       RESPONSE: CoreCivic objects to this Request for Production on grounds that it is vague

and ambiguous as to scope because the term “report” is not defined and because CoreCivic does

not understand what Pleasant-Bey intends by the phrase “misrepresentation of staffing levels.”




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 CoreCivic also objects to this Request for Production on grounds that it is overbroad, unduly

burdensome, and seeks documents that are not relevant and are not proportional to the needs of

the case. Trousdale did not open until 2016. This aside, this Request for Production is not limited

to the dates of Pleasant-Bey’s incarceration at Trousdale.        Along with this, this Request for

Production would require CoreCivic to locate and review every communication, document, or

email received by the named individual Defendants in this case to determine if there is any mention

of staffing issues, levels, or shortages in anything that could be deemed a “report.” This immensely

time consuming and expensive task would not be taken for any reasonable purpose.           Indeed, the

fact that a unit manager may have emailed an assistant warden to report that a correctional officer

did not present for his shift, that there was a staffing shortage as a result, and that another

correctional officer would have to report to the facility to cover the staffing shortage does not have

any conceivable or reasonable bearing on the allegations in this lawsuit.    Similarly, the fact that a

warden may have requested that a sergeant cover a post so as not to create a staffing shortage

because a correctional officer had to leave because        she was feeling ill does not have any

conceivable or reasonable bearing on the allegations in this lawsuit.        Despite its best efforts,

CoreCivic has been unable to determine a way to provide any of the documents that have been

requested without causing an extreme and unreasonable burden both in terms of time and expense

for CoreCivic.   This difficulty has been exacerbated by Pleasant-Bey’s request that CoreCivic

provide these documents within a one-month timeframe.         CoreCivic also objects to this Request

for Production to the extent that it seeks documents that are protected from discovery by the

attorney-client privilege, work product doctrine, and/or Federal Rule of Civil Procedure 26(b).

Subject to and without waiving these objections, counsel for CoreCivic remain willing to meet and

confer with counsel for Pleasant-Bey to determine an appropriate scope of responsive, relevant,




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and non-privileged documents to produce in response to this Request for Production that will not

cause an extreme burden and expense to CoreCivic and that will not take weeks or even months to

locate, review, and produce.

          18.    All reports (whether generated by CoreCivic or a government entity) that reference

or identify staffing shortages or misrepresentation of staffing levels since at Trousdale.

          RESPONSE: CoreCivic objects to this Request for Production on grounds that it is vague

and ambiguous as to scope because the term “report” is not defined, because CoreCivic does not

understand what Pleasant-Bey intends by the phrase “misrepresentation of staffing levels,” and

because     CoreCivic   does not understand what Pleasant-Bey        intends by the phrase “since at

Trousdale.” CoreCivic also objects to this Request for Production on grounds that it is overbroad,

unduly burdensome, and seeks documents that are not relevant and are not proportional to the

needs of the case. This Request for Production is not limited in time and particularly is not limited

to the dates of Pleasant-Bey’s incarceration at Trousdale.         Along with this, this Request for

Production would require CoreCivic to locate and review every communication, document, or

email received by any individual who has been employed at Trousdale since the facility opened in

January 2016 to determine if there is any mention of staffing issues, levels, or shortages in anything

that could be deemed a “report.” This immensely time consuming and expensive task would not

be taken for any reasonable purpose.      Indeed, the fact that a unit manager may have emailed an

assistant warden to report that a correctional officer did not present for his shift, that there was a

staffing shortage as a result, and that another correctional officer would have to report to the facility

to cover the staffing shortage does not have any conceivable or reasonable bearing on the

allegations in this lawsuit.   Similarly, the fact that a warden may have requested that a sergent

cover a post so as not to create a staffing shortage because a correctional officer had to leave




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because she was feeling ill does not have any conceivable or reasonable bearing on the allegations

in this lawsuit. Despite its best efforts, CoreCivic has been wile to determine a way to provide

any of the documents that have been requested without causing an extreme and unreasonable

burden both in terms of time and expense for CoreCivic.     This difficulty has been exacerbated by

Pleasant-Bey’s request that CoreCivic provide these documents within a one-month timeframe.

CoreCivic also objects to this Request for Production to the extent that it seeks documents that are

protected from discovery by the attorney-client privilege, work product doctrine, and/or Federal

Rule of Civil Procedure 26(b).     Subject to and without waiving these objections, counsel for

CoreCivic remain willing to meet and confer with counsel for Pleasant-Bey to determine an

appropriate scope of responsive, relevant, and non-privileged documents to produce in response

to this Request for Production that will not cause an extreme burden and expense to CoreCivic and

that will not take weeks or even months to locate, review, and produce.

        19.     Documents that identify each CoreCivic employee at Trousdale who resigned,

retired, or has been terminated since January 1, 2016.

        RESPONSE:       CoreCivic objects to this Request for Production on grounds that it is

overbroad, unduly burdensome, and seeks documents that are not relevant and are not proportional

to the needs of the case. This Request for Production is not limited in time and particularly is not

limited to the dates of Pleasant-Bey’s incarceration at Trousdale.    Along with this, the name of

every employee of CoreCivic of Tennessee, LLC who resigned, retired, or has been terminated

from Trousdale over the last five years does not have any conceivable or reasonable bearing on

the allegations in this lawsuit.   Indeed, the fact that a correctional officer may have resigned

because she wanted to move to another state to be closer to her family or the fact that a sergeant

may have retired because he felt ready to stop working lends nothing to this litigation.        The




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unreasonable amount of time and expense that it would take for CoreCivic to determine the

employees of CoreCivic of Tennessee, LLC who resigned, retired, or have been terminated from

Trousdale over the last five years renders this Request for Production further objectionable.

        20.        All audits or investigative reports (whether internal or external) of Trousdale since

the facility was opened.

        RESPONSE: CoreCivic objects to this Request for Production on grounds that it is vague

and ambiguous as to scope because the terms “audits” and “investigative reports” are not defined.

CoreCivic also objects to this Request for Production on grounds that it is overbroad, unduly

burdensome, and seeks documents that are not relevant and are not proportional to the needs of

the case.     This Request for Production is not limited in time and particularly is not limited to the

dates of Pleasant-Bey’s incarceration at Trousdale.       Along with this, this Request for Production

would require CoreCivic to locate, review, and produce every single audit or investigative report,

whatever those terms are intended to mean, over a five-year period of time, which would be a

particularly significant undertaking.     This immensely time consuming and expensive task would

not be taken for any reasonable purpose.        Indeed, the fact that a report was created because an

inmate may have slipped in water in his housing unit or the fact that a review was performed of

the procedures for administering insulin to diabetic inmates does not have any conceivable or

reasonable bearing on the allegations in this lawsuit. Despite its best efforts, CoreCivic has been

unable to determine a way to provide any of the documents that have been requested without

causing an extreme and unreasonable burden both in terms of time and expense for CoreCivic.

This difficulty has been exacerbated by Pleasant-Bey’s request that CoreCivic provide these

documents within a one-month timeframe.          CoreCivic also objects to this Request for Production

to the extent that it seeks documents that are protected from discovery by the attorney-client




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privilege, work product doctrine, and/or Federal Rule of Civil Procedure 26(b). CoreCivic further

objects to this Request for Production on grounds that it seeks documents, the disclosure of which

would violate Health Insurance Portability and Accountability Act (“HIPAA”) and/or T.C.A. §

 10-7-504(a)(1).     Any audits or investigative reports that involve medical evaluations or medical

treatment for individuals other than Pleasant-Bey merit significant protection.       Subject to and

without waiving these objections, counsel for CoreCivic remain willing to meet and confer with

counsel for Pleasant-Bey to determine an appropriate scope of responsive, relevant, and non-

privileged documents, the disclosure of which will not violate HIPAA or T.C.A. § 10-7-504(a)(1),

to produce in response to this Request for Production that will not cause an extreme burden and

expense to CoreCivic and that will not take weeks or even months to locate, review, and produce.

        21.        All documents referencing cost savings from staffing fewer guards than required

by government contract or regulation at Trousdale between January 1, 2015 to December 31, 2020.

        RESPONSE:         CoreCivic objects to this Request for Production on grounds that it is

overbroad, unduly burdensome, and seeks documents that are not relevant and are not proportional

to the needs of the case. Trousdale did not open until 2016. This aside, this Request for Production

is not limited to the dates of Pleasant-Bey’s incarceration at Trousdale. Along with this, CoreCivic

has multiple documents in its possession regarding the budget and financial status of Trousdale.

The number of employees of CoreCivic of Tennessee, LLC who actively are working at Trousdale

may impact the financial numbers of Trousdale, so every document regarding the budget or the

financial status of Trousdale could be responsive to this Request for Production yet, at the same

time, would have no conceivable or reasonable bearing on the allegations in this lawsuit.    Subject

to and without waiving these objections, CoreCivic does not have any documents wherein it




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 analyzes the financial benefit of violating a government contract or in violating a state regulation

 with respect to its ownership and operation of Trousdale.

           22.      Monthly staffing reports concerning Trousdale submitted by CoreCivic to TDOC.

           RESPONSE: CoreCivic objects to this Request for Production on grounds that it is vague

 and ambiguous as to scope. CoreCivic also objects to this Request for Production on grounds that

 it is overbroad,       unduly    burdensome,     and seeks      documents   that are not relevant and are not

 proportional to the needs of the case.             This Request for Production is not limited in time and

 particularly is not limited to the dates of Pleasant-Bey’s incarceration at Trousdale.                     Along with

 this,   this    Request    for   Production     would     require    CoreCivic   to   locate   and       review   every

 communication,         document,    or email from anyone            at CoreCivic to anyone       at the Tennessee

 Department of Correction (“TDOC”) to determine whether staffing is discussed or mentioned.

 Subject to and without waiving these objections, counsel for CoreCivic remain willing to meet and

 confer with counsel for Pleasant-Bey to gain a better understanding of what it is that Pleasant-Bey

 seeks so that CoreCivic can determine an appropriate scope of responsive and relevant documents

 to produce in response to this Request for Production that will not cause a burden and expense to

 CoreCivic and that will not take an extended time to locate, review, and produce.

           23.      From 2016 to the present, copies of all reports created by CoreCivic concerning

- Trousdale Turner Correctional Facility concerning inmates in possession of weapons; inmate

 assaults on staff or other inmates; correctional officers’ use of force to restrain inmates, such as

 pepper spray, handcuffs and leg irons, medical restraints, deadly weapons, and bean bag rounds;

 deaths;    discovery      of contraband;      injuries;   lockdowns;    inmate   defiance;     partial     institutional

 lockdowns; and total institutional lockdowns.              This is intended to encompass reports in the form

 of CoreCivic 5-1a Incident Reports and 5-1c Incident Statements.




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            RESPONSE: CoreCivic objects to this Request for Production on grounds that it is vague

 and ambiguous as to scope because the term “report” is not defined and simply is noted to

 “encompass” but is not noted to be limited to 5-1A Incident Reports and 5-1C Incident Statements.

 CoreCivic also objects to this Request for Production on grounds that it is overbroad, unduly

 burdensome, and seeks documents that are not relevant and are not proportional to the needs of

 the case.    This Request for Production is not limited to the dates of Pleasant-Bey’s incarceration

 at Trousdale.    Along with this, this Request for Production would require CoreCivic to locate and

 review every 5-1A Incident Report and 5-1C Incident Statement for a five-year period of time.

 This immensely time consuming and expensive task would not be taken for any reasonable

 purpose.     Indeed, the fact that    inmate may have burned his hand with boiling water in the

 kitchen, that a visitor may have fallen while sitting in a chair in the visitation area, that an inmate

 may have been found sneaking food from the cafeteria, or that a correctional officer may have

 reprimanded an inmate for using profanity does not have any conceivable or reasonable bearing

 on the allegations in this lawsuit. Despite its best efforts, CoreCivic has been unable to determine

 a way to provide any of the documents that have been requested without causing an extreme and

 unreasonable burden both in terms of time and expense for CoreCivic.          This difficulty has been

 exacerbated by Pleasant-Bey’s request that CoreCivic provide these documents within a one-

 month timeframe. CoreCivic also objects to this Request for Production to the extent that it seeks

 documents that are protected from discovery by the attorney-client privilege, work product

 doctrine, and/or Federal Rule of Civil Procedure 26(b).     CoreCivic further objects to this Request

 for Production on grounds that it seeks documents, the disclosure of which would violate HIPAA

 and/or T.C.A. § 10-7-504(a)(1).      Any 5-1A Incident Reports or 5-1C Incident Statements that

 involve medical evaluations or medical treatment for individuals other than Pleasant-Bey merit




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 significant protection.           Subject to and without waiving these objections, counsel for CoreCivic

 remain willing to meet and confer with counsel for Pleasant-Bey to determine an appropriate scope

 of responsive, relevant, and non-privileged documents, the disclosure of which will not violate

 HIPAA or T.C.A. § 10-7-504(a)(1), to produce in response to this Request for Production that will

 not cause an extreme burden and expense to CoreCivic and that will not take weeks or even months

 to locate, review, and produce.

             24.        All documents,       communications,      reports, and complaints concerning the gang

 activity and violent incidents at Trousdale Turner Correctional Facility referred to in the following

 news articles:

             a.         Demetria Kalodimos, Woman says she paid off gangs to keep son safe in prison,
                        WSMV       (Oct.   5, 2017),   https://www.wsmv.com/news/woman-says-she-paid-off-
                        gangs-to-keep-son-safe-in-prison/article       a4e670ea-78be-5087-86e5-
                        a65ecd485475.html

             b.         Demetria Kalodimos, Gang activity, security a concern at Trousdale Turner
                       facility, WSMV (Jun. 21, 2017), https://www.wsmv.com/news/gang-activity-
                        security-a-concern-at-trousdale-turner-facility/article_df82a358-7073-552e-b5e4-
                        9feb2e9cf8bc.html

             c.         Demetria    Kalodimos,     Former   chaplain    describes   conditions   inside   TN prison,
                        WSMV (Jun. 19, 2017), https://www.wsmv.com/news/former-chaplain-describes-
                        conditions-inside-tn-prison/article       9b30af82-8297-5101-b11f-b5fd9270bf18.html

         RESPONSE:             As an initial matter, it merits mention that CoreCivic disputes multiple of

 the allegations that are made in the referenced articles as inaccurate, unfounded, and not grounded

 in reality. This aside, CoreCivic objects to this Request for Production on grounds that it is vague

 and ambiguous            as to scope because the terms “reports” and “complaints”                are not defined.

 CoreCivic also objects to this Request for Production on grounds that it is overbroad, unduly

 burdensome, and seeks documents that are not relevant and are not proportional to the needs of

 the case.         This Request for Production is not limited in time and particularly is not limited to the




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 dates of Pleasant-Bey’s incarceration at Trousdale.              Along with this, this Request for Production

 would require CoreCivic to locate and review a countless number of documents in order to locate

 any mention of security threat groups. By way of example only, every inmate who is incarcerated

 at Trousdale is asked whether he is involved in a security threat group, and his response is

 documented.         This   Request   for     Production        would    require   that   CoreCivic   produce   this

 documentation for every inmate who has been incarcerated at Trousdale since the facility opened

 in 2016.        This immensely time consuming and expensive task would not be taken for any

 reasonable purpose.        Despite its best efforts, CoreCivic has been unable to determine a way to

 provide     any of the documents          that have   been requested         without     causing an extreme    and

 unreasonable burden both in terms of time and expense for CoreCivic.                      This difficulty has been

 exacerbated by Pleasant-Bey’s request that CoreCivic provide these documents within a one-

 month timeframe.       CoreCivic also objects to this Request for Production to the extent that it seeks

 documents that are protected from discovery by the attorney-client privilege, work product

 doctrine, and/or Federal Rule of Civil Procedure 26(b).                CoreCivic further objects to this Request

 for Production on grounds that it seeks documents, the disclosure of which would violate HIPAA

 and/or T.C.A. § 10-7-504(a)(1).            Subject to and without waiving these objections, counsel for

 CoreCivic remain willing to meet and confer with counsel for Pleasant-Bey to determine an

 appropriate scope of responsive, relevant, and non-privileged documents, the disclosure of which

 will not violate HIPAA        or T.C.A.     § 10-7-504(a)(1), to produce in response to this Request for

 Production that will not cause an extreme burden and expense to CoreCivic and that will not take

 weeks or even months to locate, review, and produce.

           25.      All documents, reports, and communications                 concerning a lack of security at

 Trousdale.




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        RESPONSE: CoreCivic objects to this Request for Production on grounds that it is vague

 and ambiguous as to scope because the term “reports” is not defined and because CoreCivic cannot

 begin to decipher what Pleasant-Bey       intends by the phrase “concerning lack of security at

 Trousdale.” CoreCivic also objects to this Request for Production on grounds that it is overbroad,

 unduly burdensome, and seeks documents that are not relevant and are not proportional to the

 needs of the case. This Request for Production is not limited in time and particularly is not limited

 to the dates of Pleasant-Bey’s incarceration at Trousdale. Along with this, nearly every action that

 is taken at Trousdale is intended to protect the inmates who are incarcerated in the facility, the

 individuals who work in the facility, and the public at large.    Any effort to locate, review, and

 produce all documents regarding security at Trousdale would be a monumental task that could not

 reasonably be completed in several months.     This immensely time consuming and expensive task

 would not be taken for any reasonable purpose. Despite its best efforts, CoreCivic has been unable

 to determine a way to provide any of the documents that have been requested without causing an

 extreme and unreasonable burden both in terms of time and expense for CoreCivic. This difficulty

 has been exacerbated by Pleasant-Bey’s request that CoreCivic provide these documents within a

 one-month timeframe.    CoreCivic also objects to this Request for Production to the extent that it

 seeks documents that are protected from discovery by the attorney-client privilege, work product

 doctrine, and/or Federal Rule of Civil Procedure 26(b).    CoreCivic further objects to this Request

 for Production on grounds that it seeks documents, the disclosure of which would violate HIPAA

 and/or T.C.A. § 10-7-504(a)(1).     Subject to and without waiving these objections, counsel for

 CoreCivic remain willing to meet and confer with counsel for Pleasant-Bey to determine an

 appropriate scope of responsive, relevant, and non-privileged documents, the disclosure of which

 will not violate HIPAA or T.C.A. § 10-7-504(a)(1), to produce in response to this Request for




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 Production that will not cause an extreme burden and expense to CoreCivic and that will not take

 weeks or even months to locate, review, and produce.

             26.        Copies of CoreCivic’s policies, procedures, and protocols in effect at Trousdale

 Turner Correctional Facility concerning gang activity; inmates in possession of weapons; inmate

 assaults on staff or other inmates; correctional officers’ use of force to restrain inmates, such as

 pepper spray, handcuffs and leg irons, medical restraints, deadly weapons, and bean bag rounds;

 deaths;      discovery     of contraband;    injuries;   lockdowns;   inmate   defiance;   partial   institutional

 lockdowns; and total institutional lockdowns.

           RESPONSE: CoreCivic objects to this Request for Production on grounds that it is vague

 and ambiguous as to scope because the terms “procedures” and “protocols” are not defined.

 CoreCivic also objects to this Request for Production on grounds that it is overbroad, unduly

 burdensome, and seeks documents that are not relevant and are not proportional to the needs of

 the case.         This Request for Production is not limited in time and particularly is not limited to the

 dates of Pleasant-Bey’s incarceration at Trousdale.             Along with this, there are multiple policies,

 procedures, and protocols, as CoreCivic reasonably can understand those terms, in place at

 Trousdale regarding the referenced topics.               Any effort to locate, review, and produce all such

 policies, procedures, and protocols would take a significant amount of time. This time consuming

 and expensive task would not be taken for any reasonable purpose because many of these policies,

 procedures, and protocols do not have any bearing on the allegations in this lawsuit.                  Subject to

 and without waiving these objections, CoreCivic will produce the table of contents for the policies

 that are in place at Trousdale.        At Pleasant-Bey’s request, CoreCivic will produce a copy of any

 policy requested, provided that it is relevant to the allegations in this lawsuit. Once those policies




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 are produced, counsel for CoreCivic remain willing to discuss with counsel for Pleasant-Bey the

 other policies, procedures, and protocols that they contend that they need in this litigation.

         27.      Copies of all documents provided to the Comptroller in connection with the

 Performance Audits.

         RESPONSE: CoreCivic objects to this Request for Production on grounds that it is vague

 and ambiguous as to scope because the term “Performance Audits” is not defined. CoreCivic also

 objects to this Request for Production on grounds that it is overbroad, unduly burdensome, and

 seeks documents that are not relevant and are not proportional to the needs of the case.            This

 Request for Production is not limited in time and particularly is not limited to the dates of Pleasant-

 Bey’s incarceration at Trousdale.     It also is not limited to Trousdale or to the allegations that are

 at issue in this lawsuit.   Along with this, this Request for Production would require CoreCivic to

 locate and review every communication, document, or email from anyone at CoreCivic to anyone

 with the Tennessee Comptroller of the Treasury to determine whether any topics that are relevant

 to the allegations in this lawsuit are discussed or mentioned, which would require a significant

 amount of time and expense.         Subject to and without waiving these objections, counsel for

 CoreCivic remain willing to meet and confer with counsel for Pleasant-Bey to gain a better

 understanding of what it is that Pleasant-Bey seeks so that CoreCivic can determine an appropriate

 scope of responsive and relevant documents to produce in response to this Request for Production

 that will not cause a burden and expense to CoreCivic and that will not take an extended time to

 locate, review, and produce.

         28.     All contract monitoring reports and noncompliance reports concerning Trousdale.

         RESPONSE: CoreCivic objects to this Request for Production on grounds that it is vague

 and ambiguous as to scope because CoreCivic does not understand what Pleasant-Bey intends by




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 the phrases “contract monitoring reports” or “noncompliance reports.” CoreCivic also objects to

 this Request for Production on grounds that it is overbroad, unduly burdensome,           and seeks

 documents that are not relevant and are not proportional to the needs of the case. This Request for

 Production is not limited in time and particularly is not limited to the dates of Pleasant-Bey’s

 incarceration at Trousdale. Along with this, this Request for Production would require CoreCivic

 to locate and review every communication, document, or email generated at any point over the last

 five years to determine if any of those documents mention noncompliance,            apparently with

 anything.    This immensely time consuming and expensive task would not be taken for any

 reasonable purpose.    Indeed, the fact that a medical provider may have failed to comply with a

 procedure regarding documentation of an inmate’s skin condition or the fact that a staff member

 failed to comply with requirements regarding documentation to be submitted when an inmate

 transfers to another facility does not have any conceivable or reasonable bearing on the allegations

 in this lawsuit. Despite its best efforts, CoreCivic has been unable to determine a way to provide

 any of the documents that have been requested without causing an extreme and unreasonable

 burden both in terms of time and expense for CoreCivic.     This difficulty has been exacerbated by

 Pleasant-Bey’s request that CoreCivic provide these documents within a one-month timeframe.

 Conlivie also objects to this Request for Production to the extent that it seeks documents that are

 protected from discovery by the attorney-client privilege, work product doctrine, and/or Federal

 Rule of Civil Procedure 26(b). CoreCivic further objects to this Request for Production on grounds

 that it seeks documents, the disclosure of which would violate HIPAA         and/or T.C.A.   § 10-7-

 504(a)(1).   Subject to and without waiving these objections, counsel for CoreCivic remain willing

 to meet and confer with counsel for Pleasant-Bey to determine an appropriate scope of responsive,

 relevant, and non-privileged documents, the disclosure of which will not violate HIPAA or T.C.A.




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 § 10-7-504(a)(1), to produce in response to this Request for Production that will not cause an

 extreme burden and expense to CoreCivic and that will not take weeks or even months to locate,

 review, and produce.

                                                        Respectfully submitted,



                                                             I                         I
                                                       Joseph F. Welborn, III (#15076)
                                                       joe.welborn@klgates.com
                                                       Erin Palmer Polly (#22221)
                                                       erin.polly@klgates.com.com
                                                       Terrence M. McKelvey (#36531)
                                                       terrence. mckelvey@klgates.com
                                                       K&L Gates LLP
                                                       222 Second Avenue, South
                                                       Suite 1700
                                                       Nashville, Tennessee 37201
                                                       (615) 780-6733
                                                       (615) 780-6799

                                                       Counsel for Defendants CoreCivic, Inc., Jon
                                                       Shonebarger, and Russell Washburn

                                 CERTIFICATE OF SERVICE

        I certify that a true and exact copy of the foregoing has been served via email this March
 27,2021, on the following:

  Tricia Herzfeld, Esq.                              Thomas J. Aumann
 Branstetter, Stranch & Jennings, PLLC               Nikki Hashemian
 223 Rosa L. Parks Avenue, Suite 200                 Assistant Attorney General
 Nashville, Tennessee 37203                          P.O. Box 20207
                                                     Nashville, Tennessee 37202


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